Case 2:10-md-02179-CJB-DPC Document 6066-1 Filed 03/19/12 Page1of1

“UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig MDL No. 2179
“Deepwater Horizon” in the
Gulf of Mexico, on

April 20, 2010 Section: J
This Document Relates to: Judge Barbier
Mag. Judge Shushan

2:10-cv-08888-CJB-SS

ORDER ON MOTION TO WITHDRAW

Pursuant to a Motion to Withdraw filed on or about March 19, 2012 it is hereby
ordered that counsel Alex Peet is permitted to withdraw from representation of Destin
Hype, LLC, Doc. No. 40194, Michael Louis Iovieno, Doe No. 40166, and Nick Louis

Iovieno, Doc. No. 40235 who will now proceed pra se.

Date:

United States Magistrate Judge
